                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

 TIMOTHY J. LADUKE,                           )
                                              )
                      Plaintiff,              )
                                              )
               vs.                            )   Case No.
                                              )
 SOUTHERLAND TRANSPORT, LLC,                  )   JURY DEMAND
 Serve BOC3 Registered Agent:                 )
  Joseph C. Rebman                            )
  Rebman, Linhares & Beachem                  )
  165 N. Meramec Ave., Ste. 310               )
  St. Louis, MO 63105                         )
                                              )
 LARRY E. KEASLER                             )
 Serve at:                                    )
  4817 Baker St.                              )
  Spencer, OK 73084-2529                      )
                                              )
                      Defendants.             )

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff Timothy J. LaDuke, II by and through his attorneys of

record, Bradley L. Bradshaw and Jonathan P. Davis of Brad Bradshaw, M.D., J.D., L.C.,

and for his claims and causes of action against the Defendants, Southerland Transport,

LLC and Larry E. Keasler, alleges and states as follows:

                                        PLAINTIFF

1. That Plaintiff Timothy J. LaDuke, II, is an individual citizen and resident of Springfield,

   Greene County, Missouri.

                                      DEFENDANTS

2. That Defendant Southerland Transport, LLC, a commercial motor carrier operating in

   interstate commerce, is a foreign corporation in good standing in the State of




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   Tennessee, duly authorized and existing according to law and doing business in

   Tennessee, whose BOC3 registered agent is Joseph C. Rebman, Rebman, Linhares

   & Beachem, 165 N. Meramec Ave., Ste. 310, St. Louis, MO 63105.

3. That Defendant, Larry E. Keasler, a commercial motor vehicle operator, is an

   individual citizen and resident of Spencer, Oklahoma County, Oklahoma.

                               JURISDICTION AND VENUE

4. That the acts hereinafter mentioned giving rise to this cause of action all occurred in

   Greene County, Missouri; that the causes of action alleged are torts; that Plaintiff's

   damages exceed $75,000.00; and that, pursuant to 28 U.S.C. §1332(a), this Court

   has jurisdiction and venue, respectively, in this cause.

                                        AGENCY

5. That Defendant Southerland Transport, LLC, at all relevant times herein mentioned,

   regularly employed Defendant Larry E. Keasler; that Defendant Larry E. Keasler, at

   all relevant times herein mentioned, was an agent, servant, statutory employee, or

   employee of Defendant Southerland Transport, LLC and acting within the course and

   scope of his employment or agency.

6. That Defendant Southerland Transport, LLC, cloaked Defendant Larry E. Keasler with

   apparent authority, and Defendant Southerland Transport, LLC, further created in the

   public’s mind, including Plaintiff’s, that Defendant Larry E. Keasler was an agent,

   servant, statutory employee, or employee of Defendant Southerland Transport, LLC.

7. That Defendant Southerland Transport, LLC was a motor carrier as the term is defined

   within the meaning of the Federal Motor Carrier Safety Regulations (FMCSR) set forth

   in Title 49 of the CFR.



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                             FACTS OF THE OCCURRENCE

8. On or about October 16, 2020 at approximately 8:47 a.m., Plaintiff Timothy J. LaDuke,

   II was the driver of a 2006 Chrysler Town & Country traveling in a general easterly

   direction on Kearney Street in Greene County, Missouri.

9. That at the same time and place, Defendant Larry E. Keasler, was operating a tractor

   trailer owned by Southerland Transport, LLC, and traveling in a general easterly

   direction on Kearney Street in Greene County, Missouri.

10. That at the aforementioned time and place, the tractor trailer that Defendant Larry E.

   Keasler was operating came into violent contact and collision with the 2006 Chrysler

   Town & Country, severely and permanently injuring Plaintiff Timothy J. LaDuke, II.

                                 COUNT I
                 NEGLIGENCE OF DEFENDANT LARRY E. KEASLER

      COMES NOW, Plaintiff Timothy J. LaDuke, II, by and through his attorneys, and

for his claim and cause of action on Count I of this Complaint against Defendant Larry E.

Keasler alleges and states as follows:

11. Plaintiff hereby incorporates the preceding paragraphs of this Complaint as though

   fully set forth herein.

12. That Defendant Larry E. Keasler had a duty to operate the commercial motor vehicle

   with the highest degree of care, failed to do so and was negligent or negligent per se

   in one, more than one, or all of the following respects, to-wit:

   a. In failing to keep a careful lookout;

   b. In failing to stop, slow, swerve, or sound a warning;

   c. In failing to yield the right of way;

   d. In violating one or more of the Federal Motor Safety Regulations;


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   e. In violating Federal Motor Carrier Safety Regulation §392.2;

   f. In violating one or more of the Missouri            CDL standards that have been
      incorporated into §380 of FMCSR’s;

   g. In violating RSMo §304.341.1(1); and,

   h. All other acts of negligence learned through discovery.

13. That the negligence or negligence per se of Defendant Larry E. Keasler, directly

   caused or directly contributed to cause serious and permanent damage and/or injuries

   to Plaintiff in one, more than one, or all of the following respects, to-wit:

   a. That Plaintiff Timothy J. LaDuke, II has suffered painful, permanent, and
      progressive bodily injury to his ribs, cervical spine, thoracic spine, right hand and
      fingers;

   b. That Plaintiff Timothy J. LaDuke, II has suffered and will continue to suffer from
      severe and violent injury his ligaments, nerves, bones, and tissues throughout his
      body;

   c. That Plaintiff Timothy J. LaDuke, II suffered serious worsening of multiple pre-
      existing illnesses to the extent such even existed;

   d. That as a direct and proximate cause of Defendant's negligence, Plaintiff Timothy
      J. LaDuke, II has incurred, and will incur in the future, significant medical bills and
      expenses, healthcare expenses, and prescriptive expenses, the exact amount of
      which are presently unknown;

   e. That as a direct and proximate cause of Defendant's negligence, Plaintiff Timothy
      J. LaDuke, II has suffered pain, physical impairment and loss of life's enjoyment;
      and

   f. That as a direct and proximate cause of Defendant's negligence, Plaintiff Timothy
      J. LaDuke, II has suffered lost wages and his ability to earn a living in the future
      has been diminished.

      WHEREFORE, Plaintiff Timothy J. LaDuke, II prays for judgment against

Defendant Larry E. Keasler, on Count I of this Complaint in an amount that is fair and

reasonable as determined by either the court or a jury, and those damages permitted by



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law; for prejudgment interest; for Plaintiff's costs herein expended and incurred, and for

such further and other relief as deemed just and proper under the premises.



                                COUNT II
    VICARIOUS LIABILITY OF DEFENDANT SOUTHERLAND TRANSPORT, LLC

14. Plaintiff hereby incorporates the preceding paragraphs of this Complaint as though

   fully set forth herein.

15. That Defendant Larry E. Keasler was an agent, servant, employee, or statutory

   employee of Defendant Southerland Transport, LLC and was operating in the course

   and scope of his agency, employment, or statutory employment at the time of the

   crash.

16. That Defendant Southerland Transport, LLC is vicariously liable for the negligent acts,

   omissions, and/or negligent per se acts of Defendant Larry E. Keasler.

17. That the negligence, omissions, and/or negligence per se of Defendant Larry E.

   Keasler, directly caused or directly contributed to cause serious and permanent

   damage and/or injuries to Plaintiff in one, more than one, or all of the following

   respects, to-wit:

   a. That Plaintiff Timothy J. LaDuke, II has suffered painful, permanent, and
      progressive bodily injury to his ribs, cervical spine, thoracic spine, right hand and
      fingers;

   b. That Plaintiff Timothy J. LaDuke, II has suffered and will continue to suffer from
      severe and violent injury his ligaments, nerves, bones, and tissues throughout his
      body;

   c. That Plaintiff Timothy J. LaDuke, II suffered serious worsening of multiple pre-
      existing illnesses to the extent such even existed;

   d. That as a direct and proximate cause of Defendant's negligence, Plaintiff Timothy
      J. LaDuke, II has incurred, and will incur in the future, significant medical bills and


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      expenses, healthcare expenses, and prescriptive expenses, the exact amount of
      which are presently unknown;

   e. That as a direct and proximate cause of Defendant's negligence, Plaintiff Timothy
      J. LaDuke, II has suffered pain, physical impairment and loss of life's enjoyment;
      and

   f. That as a direct and proximate cause of Defendant's negligence, Plaintiff Timothy
      J. LaDuke, II has suffered lost wages and his ability to earn a living in the future
      has been diminished.

18. That Plaintiff sustained damage to his 2006 Chrysler Town & Country;

      WHEREFORE, Plaintiff Timothy J. LaDuke, II prays for judgment against

Defendant Southerland Transport, LLC, on Count II of this Complaint in an amount that

is fair and reasonable as determined by either the court and a jury, and those damages

permitted by law; for prejudgment interest; for Plaintiff's costs herein expended and

incurred, and for such further and other relief as deemed just and proper under the

premises.

                                    JURY DEMAND

      The Plainiff demands a trial by jury of all issues so triable pursuant to Rule 38 of

the Federal Rules of Procedure.

                                         Respectfully Submitted,

                                         BRAD BRADSHAW, M.D., J.D., L.C.
                                         1736 E. Sunshine, Suite 600
                                         Springfield, MO 65804
                                         (417) 333-3333; FAX (417) 889-9229

                                         By:____________________________
                                             Bradley L. Bradshaw, M.D., J.D.
                                         Bar Numbers:
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